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                       Exhibit 10
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                                   LG/ Homes, Inc.
                          Performance Based Job Description
                                New Home Consultant

         Reports To: Sales Manager/Project Manager/Selling Sales Manager
         Prepared By: LGI Homes Executive Team

         General Duties & Responsibilities: Report to work Monday through Friday, on time for
         assigned shift. Saturday and Sunday work is required. Take incoming phone calls, set
         appointments or arrange for follow-up meetings. Tum in Daily Reports to Office Manager each
         day. Perform office closing duties when scheduled. Tour properties with prospects, write sales
         contracts and deliver to Manager. Maintain contact with customer until closing with Title
         Company. Within 48 hours after closing, perform quality service toilow-up call and ask for
         referrals. Attend all Quarterly Meetings. Attend Service Impact Day.

         MISSION CRITICAL TASKS:

            1.   Sell and close 20 Homes or $5 million in volume per year the LGI way.
            2.   Perform KIT calls in accordance with the sales manual.
            3.   Listen to at least 2 ad calls with Sales Manager each month.
            4.   Tour with Manager each quarter.
            5.   Attend and participate in Sales Training each Thursday at 12:00 pm.
            6.   Attend and participate in Sales Meeting each Saturday at 8:30 am.
            7.   Participate In goal session with Manager each month.




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